Case 18-19773-CMG Doc 38 Filed 05/02/19 Entered 05/02/19 11:06:07                         Desc Main
 UNITED STATES BANKRUPTCYDocument
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 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)
  Law Offices of Kevin Fayette, LLC
  1675 Whitehorse-Mercerville Road
  Suite 204
  Hamilton, NJ 08619
  (609) 584-0600



 In Re:                                                  Case No.:      ___________________
                                                                              18-19773
  Lincoln & Doris White                                  Judge:          ___________________
                                                                                CMG

                                                         Chapter:                13




               CHAPTER 13 DEBTOR’S CERTIFICATION IN OPPOSITION TO
               ✔
               ‘       CREDITOR’S MOTION or CERTIFICATION OF DEFAULT
               ‘       TRUSTEE’S MOTION or CERTIFICATION OF DEFAULT


       The debtor in the above-captioned chapter 13 proceeding hereby objects to the following
(choose one):

          1.       ‘
                   ✔      Motion for Relief from the Automatic Stay filed
                          by___________________ _____________________,
                                          LoanCare, LLC.               creditor,

          A hearing has been scheduled for ____________________________,
                                                   May 15, 2019          at _________
                                                                               9:00   __m.
                                                                                       a

                                                   OR

                   ‘      Motion to Dismiss filed by the Standing Chapter 13 Trustee.

          A hearing has been scheduled for ____________________________, at _________ __m.




                   ‘      Certification of Default filed by __________________________, creditor,

          I am requesting a hearing be scheduled on this matter.

                                                    OR

                   ‘      Certification of Default filed by Standing Chapter 13 Trustee

          I am requesting a hearing be scheduled on this matter.
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        2.       I am objecting to the above for the following reasons (choose one):

                 ‘        Payments have been made in the amount of $ ___________________, but
                          have not been accounted for. Documentation in support is attached hereto.

                 ✔
                 ‘        Payments have not been made for the following reasons and debtor
                          proposes repayment as follows (explain your answer):_______________
                                                                                At the time my
                          ____________________________________________________________
                          wife and I filed the present Bankruptcy, the plan calls for a "strip off"
                          ____________________________________________________________
                          of the second mortgage held by LoanCare, LLC. The plan was confirmed

                 ‘        Other (explain your answer):___________________________________
                                                       and my wife and I respectfully request
                          ____________________________________________________________
                          that the motion be withdrawn.
                          ____________________________________________________________


        3.       This certification is being made in an effort to resolve the issues raised by the
                 creditor in its motion.


        4.       I certify under penalty of perjury that the foregoing is true and correct.


Date: _______________________
      4/30/19                                                          /s/ Lincoln White
                                                                       ______________________________
                                                                       Debtor’s Signature

Date: _______________________
      4/30/19                                                          ______________________________
                                                                       /s/ Doris White
                                                                       Debtor’s Signature


NOTE:
1.      This form must be filed with the court and served upon the Standing Chapter 13 Trustee and creditor at
        least seven (7) days before the return date pursuant to D.N.J. LBR 9013-1(d),if filed in opposition to a
        Motion for Relief from the Automatic Stay or Trustee’s Motion to Dismiss.
2.      This form must be filed with the court and served upon the Standing Chapter 13 Trustee and creditor within
        ten (10) days of the filing of a Creditor’s Certification of Default (under an Order Resolving Motion to
        Vacate Stay and/or Dismiss with Conditions) or a Trustee’s Certification of Default.


If this form is not filed the Motion or Certification of Default will be deemed uncontested
and no hearing will be scheduled.



                                                                                            Local Form 23. rev.6/20/06.jml
